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WEsTERN DISTRICT oF MICHIGAN "“` SCA""E°B -
(Southern Division (l))

SANDRA JEANNE RANCOURT,

Plaimiff= ease NO.; 11 1-1 8-cv-00042-JTN-Esc

VS.

EXPERIAN INFORMATION
SOLUTIONS INC., et al.

Defendants.

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PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT EOUIFAX INC.’S MOTION
TO DISMISS PLAINTIFF’S COMPLAINT

NOW comes Plaintiff, Sa.ndra Jeanne Rancourt, Who hereby asks the honorable judge of
this Court, to deny Defendant Equifax Inc.’s Motion to Disrniss Plaintiff’s Complaint', (Doc. 31)
for Failure to State a Claim under Fed. R. Civ. P. lZ(b)(6). Plaintiff states as follows:

I. INTRODUCTION

Plaintift` filed a Complaint against Defendants, Experian Inforrnation Solutions, Inc.,
Trans Union LLC, and Equifax, Inc., (Doc. l) alleging violations the Fair Credit Reporting Act,
(FCRA) 15 U.S.C. § léSlg(a)(l) by said Defendants. Plaintiff alleges that all said Defendants
failed to send Plaintift` her full consumer file disclosure when she requested it pursuant to 15

U.S.C. § 1681g(a)(l). Experian Inforrnation Solutions lnc, Trans Union LLC, and Equifax lnc.

 

1 Plaintit`f Sandra Jeanne Rancourt originally filed a Complaint for Violations of the FCRA, (Doc. l) on l/l 1/18 and
has subsequently filed a First Amended Complaint for violations of the FCRA, (Doc. 27) on 03/29/28. Plaintiff
believes that Defendant Equifax lnc.’s Motion to Dismiss Plaintiff Col'nplaintJ (Doc 31) is addressing Plaintift"s
First Amended Complaint, (Doc. 27) and she proceeds in this document as Defendant Equit`ax lnc.is referring to
Plaintif`f"s First Amended Complaint as it concerns Equifax lnc.’s Motion to Dismiss Plaintiff Complaint. (Doc 31)

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filed their answers and affirmative defenses, (Docs. 7, 8, and 12 respectively). Plaintiff
subsequently filed a motion for leave to amend her Comp]aint (Doc 22) which was granted by
this Court. (Doc 25) Plaintiffs First Amended Complaint was filed in the Court with Equifax
lnformation Services, LLC added as a fourth defendant (Doc 27). Defendants Experian
lnforrnation Solutions, lnc., Trans Union LLC and Equifax lnformation Services, LLC filed their
answers and affirmative defenses to Plaintiff`s First Amended Complaint. (See Docs. 30, 28, and
33, respectively) Defendant Equifax Inc. filed a Defendant Equifax Inc.’s Motion to Dismiss
Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure, 12(b)(6) for Failure to State a
Claim (Doc 31) alleging in its Defendants Equifax Inc.’s Brief in Support of Motion to Dismiss
First Amended Cornplaint, (Doc. 32) that Equifax lne is not a consumer reporting agency and
therefore not liable under the Fair Credit Reporting Act as claimed by Plaintiff in her First
Amended Cornplajnt. The claims of violations in this case by Plaintiff are under §1681 g(a)(l)
and Plaintiff also alleges that Defendant Equifax, Inc. is in violation of §1681x by virtue of how

it operates2

II. STANDARD OF REVIEW
When considering Defendant s motion, the court must construe the factual allegations
in the complaint in the light most favorable to the Plaintiff. ln re Stac Elecs. Sec. Litig., 89 F.3d
1399, 1403 (9th Cir. 1996); Jones v. General Elec. C0., 87 F.3d 209, 211 (7th Cir. 1996). Only

if no possible construction of the alleged facts will entitle Plaintiff to relief should the court grant

 

2 The fact that Equifax conveniently interchanges the name of its various entities using just the name “Equifax”
when it suits its needs in its communication with consumers indicated a deceptive nature in an attempt to conceal the
fact that Equifax lnc. and its subsidiaries operate as one consumer reporting agency rather than operating as separate
and distinct entities which they hold themselves out to be in the public, shareholders and regulators in violation of
15 U.S.C. §1681x

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Defendant’s motion. Hishon v. Kz`ng & Spalding, 467 U.S. 69, 73, 104 S.Ct. 2229, 2232 (1984)_
The issue is not whether a plaintiff will ultimately prevail, but whether the claimant is entitled to
offer evidence to support the claims Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “The
question therefore is whether in the light most favorable to the plaintiff and with every doubt
resolved in his behalf, the complaint states any valid claim for relief.” Beanal v. Freeport
McMoran, lnc., 197 F.3d 161 , 164 (5th Cir.1999). If the factual allegations in Plaintiff`s
complaint support any legal theory that entitles Plaintiff to some relief, the court should overrule
Defendant’s motion.
III. ARGUMENTS AND AUTHORITIES
a. Defendant Equifax, Inc.’s Claim that it is not a Consumer Reporting Agency and

Not a Party to This Action

Defendant Equifax Inc. predicates its grounds for a motion to dismiss under l2(b)(6),
failure to state a claim on its assertion that Equifax lnc. is not a consumer reporting agency as
defined by the FCRA 15 U.S.C. § 1681(a)(f) and therefore, alleging that it is not the proper party
to this action. For this stance in Defendant Equifax’s Brief in Support of l\/lotion to Dismiss First
Amended Complaint, (Doc. 32, Defendant Equifax refers back to its Answer and Affirmative
Defenses in response to Plaintist original complaint Said complaint has been superseded by
Plaintiff’s First Amended Complaint. (Doc. 27) Defendant Equifax, lnc. has asserted in its brief
(Doc. 32) in support of its motion to dismiss as follows:

“FIRST DEFENSE
Equifax lnc. is not a proper party to this action. Equifax lnc. does not maintain a database

of consumer credit lnformation, does not handle credit files or issue consumer credit reports, and
does not investigate consumer disputes

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SECOND DEFENSE

Equifax Inc. is not a consumer reporting agency as defined by the FCRA. Equifax does
not maintain a database of consumer credit files or issue consumer credit reports, and does not
investigate consumer disputes.”

in order to support its claim that Equ.ifax Inc. is not a consumer reporting agency,
Defendant Equifax refers to the cases, Greear v. Equz`fax Inc., Channing v. Equifax Inc., Slz`ce v.
Choicedata Consumer Servs. Inc_ Frihat v. Citimortgage, Inc., McDonald v. Equifax, Inc. el al.,
Persson v. Equifax Inc. and Wez`ler v_ Equifax, Inc and claims that “the issues are virtually
identical” (Doc. 32, pg. 13) in regard to Plaintiff" s Complaint against Defendant Equifax, and
Defendant Equifax’s. assertions that it is not a consumer reporting agency.

The issues are not virtually identical as Defendant Equifax,. claims. All the cases cited
by Defendant Equifax are rulings that came from summary judgment motions, after the
discovery period was completed in all of the cited cases. In only one of the said cases, (Slice) all
the Plaintiffs proceeded Pro se and none of those cases were dismissed as the result of motion to
dismiss under Fed.R. Civ. P_ 12(b)(6). Of the cases cited above, four are exhibits attached to
Defendant’s Equifax, lnc.’s Brief in Support of Motion to Dismiss First Amended Complaint.
(Doc 32, Exhibits l, 2, 3 and 4) Said exhibits are of cases where the courts have granted
motions for summary judgment in favor of Defendant Equifax lnc. after the time had passed for
pleadings depositions, answers to interrogatories and admissions on file, together with affidavits
In Frihat v. Citimortgage, Inc N0.07 CV-946, ( Doc 32, Exhibit 1) the pro se plaintiff Frihat did
not participate in discovery which resulted in a favorable summary judgment decision for
Equifax lnc. Likewise in McDonald v. Equz:fax Inc, et al., Civil Action No. 3:15-CV-3212-B
(N.D. 'l`ex. Mar. 6, 2017), pro se Plaintiff McDonald failed to respond to discovery requests

which resulted in a favorable summary judgment decision for Equifax lnc. (Doc 32, Exhibit 2)

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ln the case of Persson v. Equifax Inc, No. 7;02-CV-511, Doc 80, (Doc. 32, Exhibit 3); after the
discovery period had passed, Pro se Plaintiff Persson was unable to present to evidence at the
summaryjudgment stage to overcome Equifax’s motion for summary judgment In the case of
Weiler v. Equz'fax Inc., No. 2:99-CV-936, Doc 29, (W.D. Pa., Nov. 16, 2000) (See Doc 32,
Exhibit 4), after the discovery period had passed, Pro Se Plaintiff Weiler did not respond to
Equifax’s argument which resulted in a favorable decision for Equifax, Inc. at the summary
judgment stage of the litigation ln the cases of Greear, Chanm`ng and Slice, a dispositive
motion favorable to Equifax, Inc. came after the time of discovery had passed and at the
summary judgement stage of the litigation (Exhibit 1). Another notable difference between the
claims made in Plaintiffs First Amended Complaint, and the cases cited by Defendant Equifax.
is that Plaintiff has specifically made a claim in her First Amended Complaint of how Equifax
Inc. operates Plaintiff asserted as follows : “Equifax, Inc. has used EIS and ECS and other
subsidiaries as dependent and integrated divisions rather than separate legal entities 'l`he
business operations are fully coordinated and shared resources are cross-applied without full and
complete profit and cost centers. l\/lanagement decisions at EIS and ECS as well as other
divisions are made by and through Equifax, lnc. The entities largely hold themselves out as a
single uniform business entity exchanging and selling consumer information as well as data
derived from consumer information and communications it holds in its consumer files.” (Doc
27, 11 11). Plaintiff claims that Defendant Equifax, lnc_ is in violation of 15 U.S.C. §1681x which
expressly prohibits “a consumer reporting agency from circumventing or evading treatment as a

nationwide consumer reporting agency” by means of corporate organization or restructuring

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Plaintiff alleges in her First Amended Complaint that all Defendants in her case have
subsidiaries and affiliates which operate as if they are one in the same as consumer reporting
agencies As it concerns Defendant Equifax, in this present case, Plaintiff attached evidence to
her First Amended Complaint of her claim that Defendant Equifax is a consumer reporting
agency. (Doc 27, Exhibit 1) Said evidence is a letter from the House of Representatives of the
Congress of the United States that Plaintiff claims is proof that Defendant Equif`ax is a consumer

reporting agency. (Doc 27, Exhibit 1)

b. Plaintiff Filed a Sufficient Pleading.

All that is required for a pleading according to Fed. R. Civ. P. 8(a)(2), which states in part
that each claim in a complaint include, “a short and plain statement of the claim showing that the
pleader is entitled to relief.” The claims must include enough factual allegations to raise a right
to relief above the speculative level. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
Plaintiff went far beyond the minimal requirements of rule 8(a)(2) in her First Amended
Complaint when she filed an exhibit as evidence of her claim that Defendant Equifax, Inc. is a
consumer reporting agency. Plaintiff` s complaint is more than sufficient Never-the-less,
Defendant Equifax lnc.s’ Brief in Support of Motion to Dismiss First Amended Complaint, (Doc
32) Defendant Equifax argues as if Plaintiff must prove her case at the notice pleading stage
rather than after discovery and at summary judgment or at trial.

c. Plaintiff’s First Amended Complaint is Sufficient

Rule 12(b)(6) tests the sufficiency of a pleading Smiz‘h v. Frye 488 F.3d 274 (4"‘ Cir.

2007) Under rule 12(b)(6), a claim may be dismissed either because it asserts a legal theory that

is not cognizable as a matter of law or because the factual tale alleged is implausible Bell

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Atlantz`c Corp. v. Twombly, 550 U.S. 544, 555, & 570. 127 S Ct. 1955, 1965 & 1974, 167 L Ed.
2d 929 (2007). Pleaders must show that their allegations “possess enough heft” to show an
entitlement of relief (and thereby, are sufficient to allow the costly process of litigation to
continue) Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, & 570. The sufficiency of
Plaintiff’s First Amended Complaint has been well established by the fact she has fulfilled all the
requirements of Rule 8(a)(l)(3) and exceeded that minimum by including an exhibit in her First
Amended Complaint, providing evidence of her claim that Equifax Inc. is a consumer reporting
agency. Plaintiff`s pleading asserts a legal theory that it cognizable by law and puts forth a very
plausible tale that Equifax lnc. operates as a consumer reporting agency. The cases cited by
Defendant Equifax, Inc. in support of its motion to dismiss were grants by the courts for
summary judgement and after the discovery period of litigation has ended.
IV. CONCLUSION

Plaintiff has demonstrated that her First Amended Complaint is in compliance with Fed.
R. Civ. P.8(a)(2) and is sufficient Plaintiff has also demonstrated that the cases Defendant has
cited, do not support a dispositive motion at this point in litigation.

WHEREFORE, Plantiff respectfully requests this Honorable Court to DENY Defendant
Equifax, lnc.’s Motion to Dismiss Plaintiff` s Complaint.

Respectfully submitted

D/J'Ma $eawwz/ ,@/,VM

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Date: May § , 2018

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CERTIFICATE OF SERVICE

I hereby certify that, I served the foregoing document via 1Sl class United States Postal

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